Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 1 of 282 PageID #: 197




                             EXHIBIT I
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     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF KINGS
     -----------------------------------------------------------------X
     HADMIRA C. LEACOCK,                                                  Index No.: 522043/18

                                                  Plaintiff,              NOTICE OF MOTION

               -against-                                                  Return Date: 08/03/20

                                                                          Before: Hon. Peter Paul
                                                                          Sweeney
     HESS RETAIL STORES LLC, HESS CORPORATION,
     SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                                    Defendants.
     ----------------------------------------------------------------X

              Upon the affirmation of MELISSA MANNA, ESQ., affirmed on the 7th day of

    July, 2020 and upon exhibits annexed thereto, the defendant, SPEEDWAY LLC i/s/h/a

    SPEEDWAY, LLC, HESS RETAIL STORES LLC, HESS CORPORATION and

    SPEEDWAY GAS STATION, will move this Court at the Courthouse located at

    Supreme Court, Kings County, 360 Adams Street, Motion Support, Room 227, Brooklyn,

    New York, 11201 on the 3rd day of August, 2020 at 9:30 a.m. or as soon thereafter as

    counsel may be heard, for an Order pursuant to CPLR §3124 and §3126, dismissing

    Plaintiff’s Complaint for failure to provide discovery; or, in the alternative, for an Order

    directing Plaintiff to comply with all outstanding discovery by a date certain or have her

    Complaint dismissed; and/or to preclude plaintiff from offering any evidence at the time

    of trial; and for such other, further, and different relief as this Court may deem just and

    proper.

              The above-entitled action is for personal injury.

              Pursuant to CPLR 2214 (b), answering affidavits, if any, are required to be served

    upon the undersigned at least seven days before the return date of this motion.
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    Dated: Garden City, New York
           July 7, 2020

                                   By:   Melissa Manna
                                         MELISSA MANNA, ESQ.
                                         Cullen and Dykman LLP
                                         Attorneys for Defendant
                                         SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC,
                                         HESS RETAIL STORES LLC, HESS
                                         CORPORATION and SPEEDWAY GAS
                                         STATION,
                                         100 Quentin Roosevelt Blvd.
                                         Garden City, New York 11530
                                         (516) 357-3700
                                         File No: 23005-26

    TO:   Robert J. Eisen, Esq.
          SUBIN ASSOCIATES, LLP
          Attorneys for Plaintiff
          HADMIRA C. LEACOCK
          150 Broadway
          New York, New York 10038
          (212) 285-3800
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    INDEX NO.: 522043/18


    SUPREME COURT OF THE STATE OF NEW YORK
    COUNTY OF KINGS
     HADMIRA C. LEACOCK,

                                   Plaintiff,

           -against-

     HESS RETAIL STORES LLC, HESS CORPORATION,
     SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                   Defendants.



       NOTICE OF MOTION, AFFIRMATION IN SUPPORT, AFFIRMATION OF
                      GOOD FAITH WITH EXHIBITS

                              Cullen and Dykman LLP
                               Attorneys for Defendant
      SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC, HESS RETAIL STORES LLC, HESS
                CORPORATION and SPEEDWAY GAS STATION,
                             100 Quentin Roosevelt Blvd.
                            Garden City, New York 11530
                                   (516) 357-3700
Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 5 of 282 PageID #: 201




     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF KINGS
     -----------------------------------------------------------------X
     HADMIRA C. LEACOCK,                                                  Index No.: 522043/18

                                                 Plaintiff,               AFFIRMATION IN
                                                                          SUPPORT
             -against-

     HESS RETAIL STORES LLC, HESS CORPORATION,
     SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                                  Defendants.
     ---------------------------------------------------------------X

            MELISSA MANNA, ESQ. an attorney at law, duly licensed to practice in the

    State of New York, hereby makes the following statements under the penalty of perjury:

            1.       I am an associate of the law firm of Cullen and Dykman LLP, attorneys

    for SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC, HESS RETAIL STORES LLC, HESS

    CORPORATION and SPEEDWAY GAS STATION (hereinafter as “Speedway”) and as

    such I am fully familiar with the facts and circumstances herein.

            2.       This Affirmation is submitted in support of the within motion for an Order

    pursuant to CPLR §3124 and §3126, dismissing Plaintiff’s Complaint for failure to

    provide discovery; or, in the alternative, for an Order directing Plaintiff to comply with

    all outstanding discovery by a date certain or have her Complaint dismissed; and/or to

    preclude plaintiff from offering any evidence at the time of trial; and for such other,

    further, and different relief as this Court may deem just and proper.

            3.       Plaintiff alleges that she sustained personal injuries on or about June 5,

    2018, when she allegedly tripped and fell, at the premises located at 1620 Neptune

    Avenue, Brooklyn, New York.
Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 6 of 282 PageID #: 202




                                     PROCEDURAL HISTORY

            4.     Plaintiff purportedly commenced this action against Stop & Shop by filing

    a Summons and Complaint on or about November 1, 2018, in Supreme Court, Kings

    County. (Exhibit “A”).

            5.     Speedway joined issue by serving a Verified Answer along with a

    Demand for a Bill of Particulars and various other discovery demands, including a

    Demand for Ad Damnum pursuant to CPLR 3017, all dated December 18, 2018. (A copy

    of Speedway’s Answer and discovery demands is annexed hereto as Exhibit “B”).

            6.     Plaintiff served a Bill of Particulars and responses to certain discovery

    demands on or about September 16, 2019. Copies of same are annexed hereto

    collectively as Exhibit “C”.

            7.     In her Combined Response to Discovery and Inspection, dated, plaintiff

    objects to the Demand for Ad Damnum, and fails to properly respond to same. (Exhibit

    “C”).

            8.     On October 18, 2019 we wrote to plaintiff’s counsel requesting

    outstanding discovery, including a response to our Demand for Ad Damnum pursuant to

    CPLR 3017(c). (The correspondence dated October 18, 2019 is annexed hereto as Exhibit

    “D”).

            9.     A Preliminary Conference was conducted on October 21, 2019, at which

    time plaintiff was ordered to respond to Speedway’s correspondence, dated October 18,

    2019 and our Demand for Ad Damnum, by November 21, 2019.               The Preliminary

    Conference Order is annexed hereto as Exhibit “E”.
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           10.       On November 21, 2019 a since we had still not received a response to our

    Demand for Ad Damnum pursuant to CPLR 3017(c), we again wrote to plaintiff’s

    counsel in yet another good faith attempt to obtain discovery without the necessity of

    motion practice. (Exhibit “F”).

           11.       Thereafter,   on   December    6,   2019,   plaintiff’s   counsel   served

    correspondence indicating that they were not in receipt of our Demand for Ad Damnum.

    (Exhibit “G”).

           12.       Despite the fact that our discovery demands had been e-filed almost a year

    prior, on December 20, 2019 we served another Demand for Ad Damnum along with

    another letter to counsel requesting a response to same and indicating that our demand

    had been e-filed a year prior. It should also be noted that on September 16, 2019, counsel

    responded to the Demand for Ad Damnum, by improperly objecting to same, and as such,

    it appears they had, in fact, received the demand. (The correspondence and Demand for

    Ad Damnum are collectively annexed hereto as Exhibit “H”)

           13.       On February 6, 2020 a Compliance Conference was conducted, whereby

    plaintiff was again ordered to respond to defendant’s Demand for Ad Damnum, by

    March 3, 2020. (Exhibit “I”).

           14.       On April 23, 2020, plaintiff served a Response to Compliance Conference

    Order, dated February 3, 2020, whereby it is indicated that a response to Demand for Ad

    Damnum “To be provided under separate cover.” (Exhibit “J”).

           15.       To date, plaintiff has still not responded to the Demand for Ad Damnum

    despite multiple good faith efforts and two court orders.
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           16.     Additionally, this office also served a Demand for Authorizations, dated

    April 28, 2020, and to date, plaintiff has not provided a response. (Exhibit “K”).

           17.     To date, Plaintiff has not responded to Speedway’s Demand for Ad

    Damnum pursuant to CPLR 3017(c) and the time to do so has expired. Plaintiff has not

    moved for a protective order related to the Demand for Ad Damnum.

                                          LEGAL ARGUMENT

           18.     CPLR 3017(c) states in relevant part that:

             “a party against whom an action to recover damages for personal
             injuries or wrongful death is brought, may at any time request a
             supplemental demand setting forth the total damages to which the
             pleader deems himself entitled. A supplemental demand shall be
             provided by the party bringing the action within fifteen days of the
             request. In the event the supplemental demand is not served within
             fifteen days, the court, on motion, may order that it be served”.

             See: N.Y. C.P.L.R. 3017 (McKinney)

           19.     Here, our Demand for Ad Damnum pursuant to CPLR 3017(c) was served

    on December 18, 2018. Despite multiple requests for a response to same, and two court

    orders, plaintiff has failed to the demand, Plaintiff has failed to respond in clear violation

    of the CPLR.

           20.     Although striking a pleading and dismissing the complaint is a drastic

    remedy, it is appropriate where there is a clear showing that the party’s failure to comply

    with discovery demands was willful or contumacious. Frias v. Fortini, 240 A.D.2d 467,

    658 N.Y.S.2d 435 (2nd Dept. 1997); cf. Novis v. Benes, 268 A.D.2d 464, 701 N.Y.S.2d

    914 (2nd Dept. 2000).

           21.     The Court may draw an inference of willful and contumacious conduct

    when that party repeatedly fails to comply with discovery demands and court orders
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    compelling disclosure without providing a reasonable excuse for the noncompliance, as is

    the case here. Mei Yan Zhang v. Santana, 52 A.D.3d 484, 860 N.Y.S.2d 129 (2nd Dept.

    2008); Dinstber v. Geico Ins. Co., 32 A.D.3d 893, 820 N.Y.S.2d 804 (2nd Dept. 2006);

    Kroll v. Parkway Plaza Joint Venture, 10 A.D.3d 633, 634, 781 N.Y.S.2d 613 (2nd Dept.

    2004); Ordonez v. Guerra, 295 A.D.2d 325, 743 N.Y.S.2d 156 (2nd Dept. 2002); Cutolo

    v. Khalife, 242 A.D.2d 661, 664 N.Y.S.2d 939 (2nd Dept. 1997).

           22.     Plaintiff has not moved for a protective Order, has not moved to vacate or

    modify any party of the Demands or Notices and has not moved to extend the time to

    respond to the demands.

           23.     Plaintiff’s egregious disregard to this defendant’s good faith attempts to

    engage in discovery evidence the willful and contumacious character of plaintiff’s

    conduct.

           24.     In light of the foregoing, Speedway’s motion should be granted.

           WHEREFORE, it is respectfully requested that this Court issue an Order

    pursuant of §3124 and §3126 of the CPLR dismissing Plaintiff’s Complaint for failure to

    provide discovery; or, in the alternative, for an Order directing Plaintiff to comply with

    all outstanding discovery by a date certain or have her Complaint dismissed; and/or to

    preclude plaintiff from offering any evidence at the time of trial; and for such other,

    further, and different relief as this Court may deem just and proper.

    Dated: Garden City, New York
           July 7, 2020
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                                  By:    Melissa Manna
                                         MELISSA MANNA, ESQ.
                                         Cullen and Dykman LLP
                                         Attorneys for Defendant
                                         SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC,
                                         HESS RETAIL STORES LLC, HESS
                                         CORPORATION and SPEEDWAY GAS
                                         STATION,
                                         100 Quentin Roosevelt Blvd.
                                         Garden City, New York 11530
                                         (516) 357-3700
                                         File No: 23005-26

     TO:   Robert J. Eisen, Esq.
           SUBIN ASSOCIATES, LLP
           Attorneys for Plaintiff
           HADMIRA C. LEACOCK
           150 Broadway
           New York, New York 10038
           (212) 285-3800
Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 11 of 282 PageID #: 207




      SUPREME COURT OF THE STATE OF NEW YORK
      COUNTY OF KINGS
      -----------------------------------------------------------------X
      HADMIRA C. LEACOCK,                                                  Index No.: 522043/18

                                                  Plaintiff,               AFFIRMATION OF
                                                                           GOOD FAITH
                -against-

      HESS RETAIL STORES LLC, HESS CORPORATION,
      SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                                   Defendants.
      ---------------------------------------------------------------X

               MELISSA MANNA, ESQ., an attorney at law, duly licensed to practice in the

     State of New York, hereby makes the following statements under the penalty of perjury:

               1.     I am an associate with the law firm of Cullen and Dykman LLP, attorneys

     for defendant, Speedway, and as such I am fully familiar with the facts and circumstances

     herein.

               2.     In an effort to avoid the necessity of judicial intervention, Speedway has

     written to plaintiff’s counsel on October 18, 2019, November 21, 2019 and December 20,

     2019. See Exhibits “D”, “F”, and “H”.

               3.     Additionally, there have been two Court Orders, dated October 21, 2019

     and February 6, 2020, ordering plaintiff to respond to the demand. (Exhibit “E” and “I”).

               4.     To date, Plaintiff has failed to provide responses to Defendant’s discovery

     demands and has not moved for a protective order or otherwise requested an extension to

     respond to same. Therefore, the instant motion has become necessary.

               WHEREFORE, the intervention of the Court is necessary to resolve these

     outstanding discovery issues.
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     Dated:    Garden City, New York
               July 7, 2020


                                       By:   Melissa Manna
                                             MELISSA MANNA, ESQ.
                                             Cullen and Dykman LLP
                                             Attorneys for Defendant
                                             SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC,
                                             HESS RETAIL STORES LLC, HESS
                                             CORPORATION and SPEEDWAY GAS
                                             STATION,
                                             100 Quentin Roosevelt Blvd.
                                             Garden City, New York 11530
                                             (516) 357-3700
                                             File No: 23005-26

     TO:      Robert J. Eisen, Esq.
              SUBIN ASSOCIATES, LLP
              Attorneys for Plaintiff
              HADMIRA C. LEACOCK
              150 Broadway
              New York, New York 10038
              (212) 285-3800
Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 13 of 282 PageID #: 209




                         EXHIBIT A
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                                                                            Service of Process
                                                                            Transmittal
                                                                            11/12/2018
                                                                            CT Log Number 534389853
     TO:     David Ball / Speedway Service of Process
             Speedway SuperAmerica, LLC
             500 SPEEDWAY DR
             ENON, OH 45323-1056

     RE:     Process Served in New York

     FOR:    Speedway LLC (Domestic State: DE)




     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                  HADMIRA C. LEACOCK, PLTF. vs. HESS RETAIL STORES LLC, ET AL., DFTS. // TO:
                                       SPPEDWAY LLC
     DOCUMENT(S) SERVED:               SUMMONS, VERIFIED COMPLAINT, ATTACHMENT(S), SUMMONS AND COMPLAINT,
                                       NOTICE(S)
     COURT/AGENCY:                     Kings County: Supreme Court, NY
                                       Case # 5220432018
     NATURE OF ACTION:                 Personal Injury - Failure to Maintain Premises in a Safe Condition - 06/05/2018
     ON WHOM PROCESS WAS SERVED:       C T Corporation System, New York, NY
     DATE AND HOUR OF SERVICE:         By Process Server on 11/12/2018 at 15:49
     JURISDICTION SERVED :             New York
     APPEARANCE OR ANSWER DUE:         Within 20 days after the service of this summons, exclusive of the day of service
     ATTORNEY(S) / SENDER(S):          ROBERT J. EISEN, ESQ.
                                       SUBIN ASSOCIATES, LLP
                                       150 Broadway
                                       New York, NY 10038
                                       212-285-3800
     REMARKS:                          The documents received have been modified to reflect the name of the entity being
                                       served.
     ACTION ITEMS:                     CT has retained the current log, Retain Date: 11/12/2018, Expected Purge Date:
                                       11/17/2018

                                       Image SOP
                                       Email Notification, David Ball / Speedway Service of Process
                                        SpeedwayServiceofProcess@Speedway.com

                                       Email Notification, Suzanne Gagle sgagle@MarathonPetroleum.com

     SIGNED:                           C T Corporation System
     ADDRESS:                          111 8th Ave Fl 13
                                       New York, NY 10011-5213
     TELEPHONE:                        212-590-9070




                                                                            Page 1 of 1 / DS
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
N      Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 15 of 282 PageID #: 211
EFXLED: KINGS COUNTY CLERK 11/01/2018 02:58 PRJ                                                                                    INDEX NO. 522043/2:018
    NYSCEF DOC. NO. 1                                                                                                   RECEIVED NYSCEF: 11/01/2018


                                                                                                    INDEX
       Oci
             HLE/i: 30444                                                                          FILED
               SUPREME COURT OF THE STATE OF NEW YORK                                                    Summons
               COUNTY OF KINGS
                                                                                                         Index No.:
                                  ---------------- ---------------------------        x                  Plaintiffls) designates
               HADMIRA C. LEACOCK,
                                                                                                         KINGS
                                                                                                         County as the place of trial
                                                   Plaintiff(s),                                         The basis of venue is
                                                                                                         Defendant's PEeve of Business
                              -against-                                                                  1620 Neptune Avenue
                                                                                                         Brooklyn, NY 11224
               HESS RETAIL STORES LLC, HESS CORPORATION, WEEDQWAiY,
              jnd SPEEDWAY GAS STATION,                                                                  County of KINGS

                                                   Defendant(s).
                     --- ---------- - ----- - ------------------- - ---------------
                                                                                      x
             To the above named Defendant(s)

                       YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a copy of your
             answer, or, if the complaint is not served with this summons, to serve a notice of appearance, on the Plaintiff's
             Attorney(s) within 20 days after the service of this summons, exclusive of the day of service (or within 30 days after
             the service is complete if this summons is not personally delivered to you within the State of New York); and in case
             of your failure to appear or answer, judgment will be taken against you by deiult for the relief demanded herein.

             Dated: October23, 2018
             Defendants Addresses:

                                                                                                        -      B. fitf&ERT J. LISEN, ESQ.
                                                                                           This SUMMONS A COMPLAFNT and the
                                                                                           papers on which It Is based, are certified pursuant to
                                                                                           Section 130-1.1-a of the rules of the Chief
                                                                                          Administrator (221VYCRR)
                                                                                                            SUBIN ASSOCIATES, LLP
                                                                                                                      Attorney(s) for P1aintifIs)
                                                                                                                 Office and Post Office Address
              Notice: The object of this action is to recover for personal injury                                               150 Broadway
                  due to defendant(s) negligence                                                                  New York, New York 10038
                                                                                                                                 (212)285-3800
             The relief sought is Monetary Damages

                       Lipon your failure to appear, judgment will be taken against you by default with interest from 6/5/20 18 and
             the costs of this action

                                                  DEFENDANT(S) ADDSS(ES)

             HESS RETAIL STORES LLC
             C/O I-less Corporation
             I Hess Plaza,
             Woodbridge, New Jersey 0709
                                                                                          ISEE RIDER FOR ADDITIONAL DEFENDANTSI




                                                                              1 of 10
Case 1:20-cv-03619-LDH-JO Document 8-9 Filed 08/14/20 Page 16 of 282 PageID #: 212




                                      RIDER


   HESS CORPORATION
   I. Hess Plaza,
   Woodbridge, New Jersey 07095

   SPEEDWAY LLC
      Fht1Aveniie.


   SPEEDWAY GAS STATION
   1620 Neptune Avenue
   Brookiyn, NY 11224
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       FILE #: 30444


       SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF KiNGS
                                -----------------------------------------x
       HADMIRA C. LEACOCK,
                                         Plaintiff(s),                       VERIFIED COMPLAINT

                    -against-

       HESS RETAIL STORES LLC, HESS CORPORATION,
       SPEEDWAY, LLC and SPEEDWAY GAS STATION,

                                         Defendant(s).

                            ---------------------------

             Plaintiff, HADMIRA C. LEACOCK, complaining of the defendants(s) by her attorney,
      SUBIN ASSOCIATES LLP, upon information and belief, respectfully allege(s):

                    That at all the times herein mentioned, and more particularly 6/5/2018, 1620

      Neptune Avenue, Brooklyn, New York was and still is a premises in the Borough of Brooklyn,

      County of Kings, City and State of New York which consisted of a roadway, sidewalks, gas

     station, convenience store and gas station lot thereat.

                    That said sidewalks and gas station lot were public thoroughfares along and over

     which the public at large had a right to walk.

                    That at all the times herein mentioned, the defendant HESS RETAIL STORES

     LLC, was and still is a corporation doing business in the State of New York.

                    That at all the times herein mentioned, the defendant HESS RETAIL STORES

     LLC, was the owner of the premises located at 1620 Neptune Ave, Brooklyn, New York.

                    That at all the times herein mentioned, the defendant HESS RETAIL STORES
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      LLC, its agents, servants and/or employees operated the aforementioned premises and the

      adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS RETAIL STORES

      LLC, its agents, servants and/or employees maintained the aforementioned premises and the

      adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS RETAIL STORES

      LLC, its agents, servants and/or employees managed the aforementioned premises and the

      adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS RETAIL STORES

      LLC, its agents, servants and/or employees controlled the aforementioned premises and the

      adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS CORPORATION,

      SPEEDWAY, LLC, was and still is a corporation doing business in the State of New York.

                     That at all the times herein mentioned, the defendant HESS CORPORATION,

      SPEEDWAY, LLC, was the owner of the premises located at 1620 Neptune Ave, Brooklyn, New

      York.

                      That at all the times herein mentioned, the defendant HESS CORPORATION,

     SPEEDWAY, LLC its agents, servants and/or employees operated the aforementioned premises

     and the adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS CORPORATION,

     SPEEDWAY, LLC, its agents, servants and/or employees maintained the aforementioned

     premises and the adjoining gas station lot.
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                     That at all the times herein mentioned, the defendant HESS CORPORATION,

      SPEEDWAY, LLC, its agents, servants and/or employees managed the aforementioned premises

      and the adjoining gas station lot.

                     That at all the times herein mentioned, the defendant HESS CORPORATION,

      SPEEDWAY, LLC, its agents, servants and/or employees controlled the aforementioned premises

     and the adjoining gas station lot.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION, was and still is a corporation doing business in the State of New York.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION, was and still is a partnership doing business in the State of New York.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION, was the owner of the premises located at 1620 Neptune Ave, Brooklyn, New York.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION its agents, servants and/or employees operated the aforementioned premises and the   -




     adjoining gas station lot.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION, its agents, servants and/or employees maintained the aforementioned premises and the

     adjoining gas station lot.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS

     STATION, its agents, servants and/or employees managed the aforementioned premises and the

     adjoining gas station lot.

                     That at all the times herein mentioned, the defendant SPEEDWAY GAS
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      STATION, its agents, servants and/or employees controlled the aforementioned premises and the

      adjoining gas station lot.

                      That at all the times herein mentioned, it was the duty of the defendant(s), its

      agents, servants and/or employees to keep and maintain said gas station lot in a reasonable state of

      repair and good and safe condition, and not to suffer and permit said premises to become unsafe

      and dangerous to pedestrians and/or customers.

                      That on or about 6/5/2018, while plaintiff was Iawftilly walking on the

      aforementioned gas station lot toward the convenience store, plaintiff HADMIRA C. LEACOCK

      was caused to fall and sustain multiple injuries by reason of the negligence, carelessness and want

      of proper care of the defendant(s), its agents, servants and/or employees.

                     That the said incident and resulting injuries to the plaintiff were caused through no

      fault of her own but were solely and wholly by reason of the negligence of the defendants, th.eir

      agents, servants and/or employees in that the defendants suffered, caused and/or permitted and/or

      allowed portions of said gas station lot, to be, become and remain in a dangerous, defective,

      hazardous, unsafe, broken, cracked, uneven, holey, chipped, depressed raised, unsmooth, loose

      condition and was negligently and/or improperly maintained, and same was otherwise so

      dangerous, hazardous, and/or unsuitable for use by persons lawfully upon the sidewalks

      constituting a nuisance and a trap, and permitting same to be and remain in such a dangerous and

      defective condition for a long period and/or unreasonable period of time; in improperly causing,

      suffering, permitting and/or allowing improler construction of said gas station lot; in failing to

      properly maintain said gas station lot and in improperly maintaining said sidewalks, in improperly

     and negligently repairing said gas station lot, in permitting and allowing defective repairs on said
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      gas station lot, in failing to apprise and/or warn the public and in particular the plaintiff of the

      aforementioned conditions; in failing to place signs, barricades, warnings and/or other devices to

      apprise persons of the dangerous, unsafe condition thereat; in generally maintaining said gas

      station lot in such a dangerous defective and/or unsafe condition so as to cause the incident herein

      complained of; in creating and maintaining a menace, hazard, nuisance and trap thereat; in failing

      to comply with the laws, statutes, ordinances and regulations made and provided therefor.

      P]aintiff further relies on the doctrine of Res Ipsa Loquitur.

                     Both actual and constructive notice are claimed. Actual notice in that the

      defendants, its agents, servants and/or employees had actual knowledge and/or created the

      com'plained of condition; constructive notice in that the condition existed for a long and

      unreasonable period of time.

                     That by reason of the foregoing, plaintiff was caused to sustain serious, harmful

      and permanent injuries, has been and will be caused great bodily injuries and pain, shock, mental

      anguish; loss of normal pursuits and pleasures of life; has been and is informed and verily believes

      maybe permanently injured; has and will be prevented from attending to usual duties; has incurred

     and will incur great expense for medical care and attention; in all to plaintiffs damage in an

     amount which exceeds the jurisdictional limits of all lower courts and which warrants the

     jurisdiction of this Court.


             WHEREFORE, plaintiff demands judgment against the defendants in an amount which

     exceeds the jurisdictional limits of all lower courts and which warrants the jurisdiction of this

     Court; together with the costs and disbursements of this action.

     DATED: New York, New York
           0ctober23,2018
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                                               Yours, etc.


                                              ROB                   ,ESQ.
                                              SUBIN ASSOCIATES, LLP
                                              Attorneys for Plaintiffs
                                              150 Broadway
                                              New York, New York 10038
                                              (212) 285-3800
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   STATE OF NEW YORK)
   COUNTY OF NEW YORK)



           The undersigned, an attorney, admitted to practice in the Courts of the State of New

   York. The undersigned affirms that the following statements are true under the penalties of

   perjury.
          That deponent is associated with the attorney for the plaintiff in the within action; that

   deponent has read the foregoing COMPLAINT and knows the contents thereof that same is
   true to deponent's own knowledge, except as to the matters therein stated to be alleged upon

   information and belief, and that as to those matters deponent believes it to be true. Deponent
   further says that the reason this verification is made by deponent and not by plaintiff is that

   plaintiff resides outside of the County where your deponent holds his office.
          The grounds of deponent's belief as to all matters not stated upon deponent's knowledge

   are as follows:
          Information and investigation in the file.

   DATE: NEW YORK, NEW YORK
        October 23, 2018
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   Index No.
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF KTh4GS
                 -------------------------------------------------------------------------------------------x
    HADMIRA C. LEACOCK,

                                        Plaintiff(s),
                   -against-

   HESS RETAIL STORES LLC, HESS CORPORATION, SPEEDWAY, LLC AND
   SPEEDWAY GAS STATION,

                                        Defendant(s).


                                            SUMMONS AND COMPLAINT


                                                SUBIN ASSOCIATES, L.L.P.
                                                     Attorneys for P1aintifTs)
                                            Office and Post Office Address, Telephone
                                                   150 Broadway, 23rd Floor
               •                                    New York, NY 10038
                                   •               Telephone (212) 285-3800
                         WE DO NOTACCEPTSER VICE BY ELECTRONIC TRANSiWISSJON

   To:
   Attorney(s) for
   Service of a copy of the within is hereby admitted
   Dated:,

                                                   Attorney(s) for

   PLEASE TAKE NOTICE

            That the within is a (certified) true copy of an ORDER entered in the office NOTiCE OF of the clerk of the
   within named court on                   20.
                                            ,



    ENTRY

             That an Order of which the within is a true copy will be presented for NOTICE OF settle to the Hon one of
   the judges of the within
   SETTLEMENT named court,
                      at
                      on                20_, at 10:00 am.
                                        ,



   Dated:
                                                                                         SUBIN ASSOCIATES, L.L.P.
                                                                                             Attorneys for p1aintiffs)
                                                                                            150 Broadway, 23rd Floor
         Attorney(s) for Defendant(s)                                                           New York, NY 10038
                                                                                                       (212)285-3800
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF KINGS
           -------------------------



HADMIRA C. LEACOCK

                            Plaintiff/Petitioner,
           -against-                                           Index No._
HESS RETAIL STORES LLC, HESS CORPORATION,
SPEEDWAY LLC, SPEEDWAY GAS STATION
                                  dsponde


                               NOTICE OF ELECTRONIC FILING


  You have received this Notice because:

        • The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
      New York State Courts e-filing system, and
        • You are a Defendant/Respondent (a party) in this case.
                                                (CPLR § 2111, Uniform Rule § 202.5-bb)

  If you are represented by an attorney: give this Notice to your attorney. (Attorneys: see
  "Information for Attorneysu pg. 2).

  If you are not represented by an attorney: you are not required to e-file. You may
  serve and file documents in paper form and you must be served with documents in
  paper form. However, as a party without an attorney, you may participate in e-
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                                      Benefits of E-Filing
             You can:

                • serve and file your documents electronically
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     • go to the Help Center or Clerk's Office at the court where the case was filed. To find
  legal information to help you represent yourself visit www.nycourthelp.gov




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                                    Information for Attorneys



     An attorney representing a party who is served with this notice must either:

            immediately record his or her representation within the e-filed matter on the NYSCEF
         site https://iapps.courts.state.ny.us/nyscef/HomePa ge; or

           file the Notice of Opt-Out form with the clerk of the court where this action is pending.
        Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
        they lack the computer hardware and/or scanner and/or internet connection or that they
        lack (along with all employees subject to their direction) the operational knowledge to
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     For additional information about electronic filing and to create a NYSCEF account, visit the
     NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone:
     646-386-3033; e-mail: efile(Wnycourts.gov).


Dated: 11/01/201

HERBERT S SUBIN                                             150 Broadway, 23rd Floor
            Name                                                           Address

                                                            New York, NY 10038
                 Firm Name

                                                            212-285-3800
                                                                            Phone

                                                           hs@subinlaw.com
                                                                         E-Mail



if




                                                                                        11/20/17


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                             EXHIBIT D
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                                                                                   Garden City Center
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                                                                    Garden City, New York 11530-4850
                                                   Telephone (516) 357-3700  Facsimile (516) 357-3792

Melissa Manna
Associate
Direct Dial: (516) 357-3753
Facsimile: (516) 357-3792
mmanna@cullenanddykman.com



       October 22, 2019

       VIA E-MAIL: jlkimes@speedway.com

       Jessica L. Kimes
       Speedway LLC
       500 Speedway Drive
       Enon, OH 45323

               Re:     Claimant                       :      Hadmira C. Leacock
                       Client                         :      Speedway LLC
                       D/Loss                         :      6/5/18
                       Our File No.                   :      23005-26

       Dear Ms. Kimes,

       Please be advised that we have now received initial discovery responses from plaintiff’s counsel,
       including a bill of particulars and response to our combined demands. A summarization of same
       is included below for your review. Additionally, a preliminary conference has been held, which
       is also reported on herein.

       Plaintiff’s Verified Bill of Particulars:

       Plaintiff was born on July 25, 1975 (44) and resides at 13411 232nd Street, Laurelton, NY 11413.
       The last four digits of her Social Security number are 4521.

       Plaintiff fails to provide any information as to the location of the accident, which is improper.
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   Plaintiff claims that the defendants were negligent in permitting and allowing portions of gas
   station parking lot to be and remain in a dangerous, defective, hazardous, unsafe, broken,
   cracked and loose condition. Plaintiff claims that the defendants failed to properly inspect the
   premises and failed to place warning signs to apprise persons of the dangerous and unsafe
   conditions thereat, amongst other such allegations. Plaintiff further relies on the doctrine of res
   ispa loquitor. Plaintiff claims both actual and constructive notice of the alleged condition.

   Plaintiff has set forth violations of New York City administrative code sections 19-138 (injury or
   defacement to streets –not applicable), 19-139 (excavations for private purposes – not
   applicable), 19-143 (excavations for public works – not applicable), 19-146 (prevention of
   disturbances to street surface – not applicable), 19-147 (replacement of pavement and
   maintenance of street hardware – does not appear applicable at this time) and 19-152 (duties and
   obligations of property owner with respect to sidewalks and lots – this section appears
   applicable).

   Plaintiff alleges that the subject accident occurred on June 5, 2018 at approximately 2:00 a.m., at
   the premises located at 1620 Neptune Ave., Brooklyn, NY.

   As a result of the subject accident, plaintiff claims to have sustained the following injuries:

   Left Shoulder
      - impingement and tear of rotator cuff;
      - tear of anterior glenoid labrum;
      - tendinosis;
      - left shoulder arthroscopic subacromial decompression, SLAP, labral and rotator cuff
          debridement, extensive synovectomy, performed on February 21, 2019

   Cervical Spine
      - C5 to C6 left foraminal disc herniation impinging on the exiting left C6 nerve root;
      - C6 to C7 subligamentous disc bulging with shallow right foraminal disc herniation;
      - C4 to C5 subligamentous disc bulging abutting the ventral cord;
      - left side C6 radiculopathy;
      - disc displacement

   Lumbar spine
      - L5 to S1 1 mm retro list thesis and posterior ligamentous disc herniation impressing on
         the ventral sac encroaching peripherally into the foramina bilaterally abutting the right
         and nearly abutting the left L5 nerve roots in the foramina with facet hypertrophy;
      - hypertrophy of the facets encroaching on the thecal sac posterior laterally at L1 to L2
         through L4 to L5;
      - intervertebral disc displacement

   Plaintiff also claims left ankle, left hip, and left side arm injury with pain, headaches and
   difficulty sleeping.
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   Plaintiff claims to have been partially disabled for seven months from the date of the accident
   until December 2018. She was confined to bed for three weeks after the accident and
   intermittently thereafter and confined to her home for approximately 1 ½ months after the
   accident. Plaintiff was confined to Coney Island Hospital on the date of the incident, June 5,
   2018.

   Plaintiff was self-employed as an event planner at the time of the incident and claims
   incapacitation from employment for seven months, with a loss of earnings of approximately
   $20,000.

   Plaintiff also claims to have been a student at Chicago University, online, and missed one and ½
   months of classes as a result of the incident.

   Plaintiff claims $4,000.00 and special damages for physician services and continuing.

   Response to Combined Demands:

   Plaintiff denies knowledge of any witnesses, statements of our clients, and denies having
   retained any experts.

   Plaintiff has failed to provide a response to our demand pursuant to CPLR 3017 ad damnum.

   One color photograph was exchanged which appears to depict an area near the bagged ice
   freezer. It is not known exactly where plaintiff claims her accident occurred.

   Medicals from Plaintiff:

          Coney Island Hospital:

   Plaintiff presented the emergency department via FDNY ambulance on the date of the alleged
   accident, June 5, 2018 at 2:45 a.m. complaining of a fall with pain to her left side. Plaintiff
   reported complaints to her neck, left shoulder, left hip, and foot following a fall 30 minutes prior
   to arrival.

   Upon examination there was no swelling or tenderness noted to her left shoulder, left hip or left
   foot.

   A CT of the head was performed which revealed no abnormalities. CTs of the cervical, thoracic
   and lumbar spine revealed no acute abnormalities. Left hip, shoulder, foot, and pelvic x-rays
   were normal.

   Plaintiff was given Tylenol in the ER and prescriptions for ibuprofen and methocarbamol, a
   muscle relaxer and was discharged.

          Damadian MRI in Canarsie, P.C.
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   On June 27, 2018, plaintiff underwent an MRI of the lumbar spine. The impression was noted as

      -   L5 to S1 1 mm retrolisthesis and a posterior subligamentous disc herniation impressing
          on the ventral thecal sac encroaching peripherally into the foramina bilaterally abutting
          the right and nearly abutting the left L5 nerve roots in the foramina. Facet hypertrophy
          was present at that level.
      -   Hypertrophy of the facets encroaching on the thecal sac posterior laterally at L1 to L2
          through L4 to L5;
      -   2 mm subcortical cyst at L2 to L3;
      -   Posterior paraspinal fasciitis;
      -   Mid upper left convexity to the lumbar curvature.

   Plaintiff presented on July 3, 2018 for an MRI of the cervical spine. The impression was noted as
   straightening of the normal cervical lordosis, C4 to C5 subligamentous disc bulging abutting the
   ventral cord, C5 C6 left foraminal disc herniation impinging on the exiting left C6 nerve root and
   superimposed on subligamentous disc bulging, and C6 to C7 subligamentous disc bulging with
   shallow right foraminal disc herniation.

   MRI of the left shoulder also taken on July 3, 2018, revealed:
     - tendinosis/tendinopathy involving the distal supraspinatus and infraspinatus tendons;
     - trace glenohumeral synovial joint effusion;
     - tendinosis/tendinopathy of the distal subscapularis tendon;
     - tear of the anterior glenoid labrum with an adjacent subcorticoid paralabral cyst.

      Felix Karafin, M.D. – All Boro Medical Rehabilitation

   Plaintiff presented on July 16, 2018, wherein it is noted that plaintiff complained of left-sided
   pain in the neck, lower back, as well as pain radiating in the left shoulder. The plaintiff had been
   undergoing physical therapy with minimal relief.

   Dr. Karafin noted that the MRI films were reviewed and despite a labrum tear, plaintiff did not
   complaint of any instability in the shoulder. She was referred for a cervical epidural injection and
   EMG studies of the upper and lower extremities. It was noted that plaintiff was unable to tolerate
   any activities, cannot work and was disabled and unable to return to work.

          Nitin Narkhede, M.D.

   Plaintiff presented on June 13, 2018, wherein it is noted that the 42-year-old, right-handed
   female “was at work” on June 5, 2018 at a gas station when she tripped on an uneven sidewalk
   and she fell forwards. Plaintiff tried to break the fall with both of her hands. Plaintiff was taken
   to Coney Island Hospital via ambulance where she underwent x-rays and was told they were
   negative for fracture. Plaintiff presented as her symptoms persisted. Plaintiff complained of left
   shoulder, left ankle and foot pain and spine pain. Plaintiff denied having any of the present
   symptoms prior to the subject accident.

   It is noted that plaintiff works in management and marketing and is also a full-time student.
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   Plaintiff was examined and the impression was noted as left shoulder sprain/strain, left foot pain
   and left ankle sprain. The plaintiff was to undergo physical therapy three times a week and was
   referred for a left shoulder MRI to rule out a tear.

   The plaintiff returned on notice why second, 2018, complaining of neck pain radiating to the left
   upper extremity. EMG testing revealed evidence of left C6 radiculopathy.

   It appears that plaintiff underwent lidocaine injections on at least four occasions performed by
   Dr. Narkhede.


   Plaintiff presented for a reevaluation on November 21, 2018, wherein it is indicated that plaintiff
   has consulted with an orthopedic surgeon, who advised her of surgical options, which she
   intended to undergo once cleared by her pulmonologist, as she had a recent pulmonary
   embolism. Plaintiff continued to complain of left shoulder and mild left foot pain. She had not
   consulted a podiatrist. Plaintiff was seeking chiropractic treatment for her lower back pain.

   Plaintiff presented again for reevaluations on April 15, 2019, June 12, 2019 and July 31, 2019,
   wherein it is noted that plaintiff consulted with an orthopedic surgeon Dr. McCullough, who
   performed arthroscopic surgery to her left shoulder on February 21, 2019.

   It is noted that plaintiff also consulted with Dr. Gerling, a spinal surgeon, who advised her of
   surgical options on her cervical spine and with Dr. Apple, an anesthesiologist who gave her
   lumbar steroid epidural injection, which helped for a few days.

   Plaintiff was examined and was to continue home exercise and follow-up as needed.

   Plaintiff was diagnosed with left shoulder sprain/strain, left shoulder derangement, cervical and
   lumbar disc displacement, cervical radiculopathy and resolved left ankle pain.

          Mill Basin Multi-Medicine & Rehabilitation

   The records from the facility indicate that plaintiff attended multiple physical therapy sessions
   subsequent to the subject accident, where plaintiff complained of tenderness and pain to the left
   shoulder and pain to the lower back. The records indicate plaintiff treated from June 13, 2018
   until at least July of 2019. It does not appear that we have a complete set of records.

          Dr. Gottlieb, chiropractor:

   It appears that plaintiff received chiropractic treatment once a week from June 13, 2018 until at
   least July 31, 2019. At her initial visit, on June 13, 2018, plaintiff stated that she was “walking
   on a Speedway gas station when she fell on an uneven concrete floor and broke her fall with both
   hands and both knees.” It was noted that the plaintiff was working and was a full-time student.

   Plaintiff consistently claimed lower back pain, left shoulder pain, and pain with bending.
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          Spine Care, NYC – Michael Gerling, M.D.

   Plaintiff presented on August 16, 2018 for a consult. Plaintiff presented with symptoms of neck,
   low back, left shoulder and left foot pain, with the pain in the neck being the most severe. It is
   noted that plaintiff is currently having difficulty working part-time. Upon examination, there was
   limited range of motion of the cervical and thoracic spine.

   Plaintiff was diagnosed with cervical disc herniation with myelopathy and radiculopathy.
   Plaintiff was to continue using a soft cervical spine collar. Physical therapy was recommended.

   Anterior cervical discectomy and fusion, at levels C5 C6, was discussed with the plaintiff, who
   was noted to have desired to proceed with the procedure.

          New Horizon Surgical Center, L.L.C.

   On February 21, 2019, plaintiff underwent left shoulder arthroscopic subacromial
   decompression, SLAP, labral and rotator cuff debridement, and extensive synovectomy
   performed by Dr. Kenneth McCulloch.

   The preoperative diagnosis was notated as left shoulder SLAP tear, labral tear and rotator cuff
   tear.

   The postoperative diagnosis was noted as left shoulder SLAP tear, labral tear, and rotator cuff
   tear as well as to divide us and impingement.

   We do not possess any records from Dr. McCullouch’s office currently.

   As you will note, to date, plaintiff’s most severe injury is the left shoulder tear with arthroscopy.
   If plaintiff undergoes the cervical discectomy and fusion as recommended by Dr. Gerling, the
   value of the case will be greatly increased. At this point we will seek to obtain a complete set of
   plaintiff’s medical records in order to perform a full evaluation.

   Preliminary Conference:

   A preliminary conference was held on October 21, 2019, at which time, the deficiencies in
   plaintiff’s responses were addressed and an order was generated scheduling the remainder of
   discovery as well as depositions.

   Of note, plaintiff is to provide a supplemental bill of particulars as to the location of the accident
   by November 21, 2019. Plaintiff is to serve authorizations for all of plaintiff’s medical treatment,
   as well as authorizations for plaintiff’s IRS records and collateral sources within 30 days.

   Additionally, plaintiff is to respond to our demand for ad damnum pursuant to CPLR 3017(c) by
   November 21, 2019. It is expected that plaintiff will demand well over $75,000.00 in her
   response, at which time we will be in a position to remove the case to federal court.
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   The deposition of plaintiff was scheduled for January 14, 2020 with the deposition of our client
   scheduled for January 22, 2020. Plaintiff him

   We will keep you updated as to additional responses received from plaintiff and as to medical
   records received.

   Should you have any questions or wish to discuss the case, please do not hesitate to call.

   Very truly yours,

   Melissa Manna
   Melissa Manna
   (516) 357-3753

   cc:

   VIA E-MAIL: amassini@speedway.com
   Amy Assini
   500 Speedway Drive
   Enon, OH 45323

   VIA E-MAIL :mebergman@speedway.com
   Mary E. Bergman
   Speedway LLC
   500 Speedway Drive
   Enon, OH 45323
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                              EXHIBIT F
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        November 21, 2019

        Subin Associates, LLP
        Attn: Maria C. Zieher, Esq.
        150 Broadway, 23rd Floor
        New York, New York 10038

                Re:     Hadmira C. Leacock v. Speedway LLC
                        D/Loss       :     6/5/18
                        Our File No. :     23005-26

        Dear Ms. Zieher:

        Please mark your file to reflect that Cullen and Dykman LLP has taken over the defense of
        Speedway, LLC. Our consent to change attorneys was filed back on October 9, 2019, and this
        office appeared at the Preliminary Conference, however mail is apparently still going to the prior
        firm.

        Please be advised that we are in receipt of your supplemental bill of particulars, however
        numerous deficiencies remain. Please provide complete and proper responses as to where the
        alleged accident occurred.

        Additionally, we have still not received duly executed HIPAA compliant authorizations made
        out Cullen and Dykman LLP, for all of your client’s treatment providers, including radiological
        records, collateral source, FDNY ambulance/pre-hospital care reports, and authorizations to
        obtain your client’s IRS tax returns in light of the lost earnings claim and the allegation that your
        client is self-employed.

        Finally, we have still not received a response to our demand for Ad Damnum. The demand for ad
        damnum is proper under CPLR 3017 (c) and must be responded to within 15 days. As such, your
        response to same is overdue.
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   Please accept the foregoing as ever good faith attempt to obtain proper and complete responses
   to our discovery demands without the necessity of motion practice. Please provide responses to
   the demands within the next 10 business days.

   Thank you for your prompt attention to the foregoing.



   Very truly yours,


   MELISSA MANNA
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                             EXHIBIT G
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                             EXHIBIT H
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    SUPREME COURT OF THE STATE OF NEW YORK
    COUNTY OF KINGS
    -----------------------------------------------------------------X
    HADMIRA C. LEACOCK,                                                  Index No.: 522043/18

                                                 Plaintiff,              DEMAND FOR
                                                                         AD DAMNUM
             -against-

    HESS RETAIL STORES LLC, HESS CORPORATION,
    SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                                   Defendants.
    ----------------------------------------------------------------X

           PLEASE TAKE NOTICE, that pursuant to CPLR 3017, this answering defendant does

   hereby demand that plaintiff provide a specific dollar amount for the ad damnum clause contained

   within said Verified Complaint.

    Dated:      Garden City, New York
                December 20, 2019
                                                By:
                                                            MELISSA MANNA, ESQ.
                                                            Cullen and Dykman LLP
                                                            Attorneys for Defendant
                                                            SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC,
                                                            HESS RETAIL STORES LLC, HESS
                                                            CORPORATION and SPEEDWAY GAS
                                                            STATION
                                                            100 Quentin Roosevelt Boulevard
                                                            Garden City, New York 11530
                                                            (516) 357-3700
                                                            File No: 23005-26

   TO:

   ROBERT J. EISEN, ESQ.
   SUBIN ASSOCIATES, LLP
   Attorneys for Plaintiff
   150 Broadway
   New York, New York 10038
   (212) 285-3800
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                             EXHIBIT K
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     File No.: 30444
     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF KINGS
     ---------------------------------------------------------------------X,
     HADMIRA C. LEACOCK
                                                                               RESPONSE TO
                                                                               COMPLIANCE
                                          Plaintiff,
                                                                               CONFERENCE ORDER
                                                                               dated February 3, 2020
                      -against-
                                                                               Index No.: 522043/2018
     HESS RETAIL STORE, SLLC, HESS CORPORATION
     SPEEDWAY LLC and SPEEDWAY GAS STATION,
                                           Defendants.
     ----------------------------------------------------------------------X


   Plaintiff by her attorneys, SUBIN ASSOCIATES, LLP, as and for a response to the Compliance
   Conference Order dated February 3, 2020, alleges upon information and belief, as follows:
      1. Demand for Ad Damnum: To be provided under separate cover.
      2. Annexed hereto are duly executed authorizations for all providers previously exchanged
         addressed to Cullen and Dykman, LLP.
      3. Annexed hereto is an authorization for release Plaintiff’s collateral source records from
         Empire BlueCross Blue Shield.
      4. IRS authorizations; Not applicable. Claimant has not made a claim for lost wages.
      5. Response to Demand for Supplemental Bill of Particulars as to items 14, 15, and 18
         regarding the location of the accident was previously served upon defendants on November
         8, 2019. Please see a courtesy copy of the Supplemental Bill of Particulars.

          PLEASE TAKE FURTHER NOTICE, that plaintiff reserves the right to amend and

   supplement this response up until the time of trial.

   Dated: New York, New York
          April 23, 2020
                                                       Yours, etc.

                                                       Maria Zieher
                                                       MARIA ZIEHER, ESQ.
                                                       SUBIN ASSOCIATES, LLP
                                                       Attorneys for Plaintiff
                                                       HADMIRA C. LEACOCK
                                                       150 Broadway, 23rd Floor
                                                       New York, New York 10038
                                                       (212) 285-3800
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   TO:   CULLEN AND DYKMAN, LLP
         Attorneys for Defendants
         SPEEDWAY LLC i/s/h/a SPEEDWAY LLC
         HESS RETAIL STONES, LLC
         HESS CORPORATION
         SPEEDWAY GAS STATION
         100 Quentin Roosevelt Blvd
         Garden City, New York 11530
         (516) 357-3700
         File No.: 23005-26
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   STATE OF NEW YORK)

   COUNTY OF KINGS) SS.:


          Bernise Martinez, deposes and says:

          Deponent is not a party to the action, is over 18 years of age and resides at KINGS

   COUNTY, NY.

          On April 23rd, 2020, deponent served the within RESPONSE TO COMPLIANCE

   CONFERENCE ORDER dtd 02/03/2020 upon:

          Melissa Manna
          CULLEN AND DYKMAN, LLP
          Email: mmanna@cullenanddykman.com

   by sending a true copy of same to each of them via email at the email addresses designated by
   each of them, with delivery receipt requested. A copy of the system delivery receipt notification
   is attached hereto.


                                                                Bernise Martinez_
                                                                Bernise Martinez


   Sworn to before me this
   23rd day of April, 2020

   Stephanie Bennett
   Notary Public, State of New Yok
   No. 01BE6152725
   Qualified in Queens County
   Commission Expires December 10, 2022
   NOTARY PUBLIC
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   Index No.: 522043/2018
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF KINGS
   HADMIRA C. LEACOCK,
                          Plaintiff,

                   --against—

   HESS RETAIL STORE, SLLC, HESS CORPORATION SPEEDWAY LLC
   and SPEEDWAY GAS STATION,

                                             Defendant.


                       RESPONSE TO COMPLIANCE CONFERENCE ORDER

                                     SUBIN ASSOCIATES, LLP
                                           Attorney(s) for Plaintiff(s)
                                   Office and Post Office Address, Telephone
                                                    150 Broadway, 23rd Floor
                                                      New York, NY 10038
                                                    Telephone (212) 285-3800

         "WE DO NOT ACCEPT SERVICE BY ELECTRONIC TRANSMISSION (FAX)"

   Service of a copy of the within                  is hereby admitted
   Dated:,
                                      ........................................................
                                                    Attorney(s) for

   PLEASE TAKE NOTICE
   ┌─┐
   └─┘   That the within is a (certified) true copy of an ORDER entered in the office
   NOTICE OF      of the clerk of the within named court on                  , 2020.
   ENTRY
   ┌─┐
   └─┘    That an Order of which the within is a true copy will be presented for
   NOTICE OF      settle to the Hon.one of the judges of the within
   SETTLEMENT named court,                    at                 on              ,               2020, at 10:00 a.m.
   Dated:
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                              EXHIBIT J
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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF KINGS
   -----------------------------------------------------------------X
   HADMIRA C. LEACOCK,                                                  Index No.: 522043/18

                                                Plaintiff,              POST EBT NOTICE
                                                                        FOR DISCOVERY AND
            -against-                                                   INSPECTION

   HESS RETAIL STORES LLC, HESS CORPORATION,
   SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                                  Defendants.
   ----------------------------------------------------------------X

            PLEASE TAKE NOTICE that the undersigned hereby demands that each party produce for

   discovery and inspection with leave to photocopy, at the office of the undersigned within twenty

   (20) days the following:

            1.       Name, address and phone number for “Wop” as testified to by plaintiff.

            2.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s pharmacy
                     records from CVS Pharmacy in Mill Basin.

            3.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s Medicaid
                     records.

            4.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s records from
                     Dr. Girling as testified to at her deposition.

            5.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s records from
                     Dr. Girling as testified to at her deposition.

            6.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s records from
                     Dr. Apple as testified to at her deposition.

            7.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s records from
                     Dr. McCullough as testified to at her deposition.

            8.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s records from
                     her previous chiropractic treatment as testified to at her deposition.

            9.       Duly executed HIPAA compliant authorizations to obtain plaintiff’s log in records
                     from 24 Hour Fitness located in Sheepshead Bay.
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            10.   Authorizations to obtain plaintiff’s individual tax returns from 2016, 2017, 2018 and
                  2019.

            11.   Authorizations to obtain plaintiff’s business tax returns for Wonder Group Media,
                  LLC, from 2016, 2017, 2018 and 2019.

            12.   Copies of any invoices, receipts, etc. relating to copays.

            PLEASE TAKE FURTHER NOTICE that a response to the foregoing demands may

   be forwarded prior to the return date herein.

            PLEASE TAKE FURTHER NOTICE, that upon your failure to produce the aforesaid

   authorizations/documents, the undersigned will object at the time of trial of this action to the

   offering of any evidence relating to the matters for which information has been requested.

   Dated:     Garden City, New York
              April 28, 2020
                                         BY:       /s/Melissa Manna
                                                   MELISSA MANNA, ESQ.
                                                   CULLEN AND DYKMAN LLP
                                                   Attorneys for Defendant
                                                   SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC,
                                                   HESS RETAIL STORES LLC, HESS
                                                   CORPORATION and SPEEDWAY GAS
                                                   STATION
                                                   100 Quentin Roosevelt Boulevard
                                                   Garden City, New York 11530
                                                   (516) 357-3700
                                                   File No: 23005-26

   TO:      Robert J. Eisen, Esq.
            SUBIN ASSOCIATES, LLP
            Attorneys for Plaintiff
            HADMIRA C. LEACOCK
            150 Broadway
            New York, New York 10038
            (212) 285-3800
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   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF KINGS
   HADMIRA C. LEACOCK,

                                Plaintiff,

        -against-

   HESS RETAIL STORES LLC, HESS CORPORATION,
   SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                Defendants.



               POST EBT NOTICE FOR DISCOVERY AND INSPECTION



                         CULLEN AND DYKMAN LLP
                             Attorneys for Defendant
    SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC, HESS RETAIL STORES LLC, HESS
              CORPORATION and SPEEDWAY GAS STATION
                        100 Quentin Roosevelt Boulevard
                          Garden City, New York 11530
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     INDEX NO.: 522043/18


     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF KINGS
      HADMIRA C. LEACOCK,

                                    Plaintiff,

            -against-

      HESS RETAIL STORES LLC, HESS CORPORATION,
      SPEEDWAY LLC and SPEEDWAY GAS STATION,

                                    Defendants.



        NOTICE OF MOTION, AFFIRMATION IN SUPPORT, AFFIRMATION OF
                       GOOD FAITH WITH EXHIBITS

                               Cullen and Dykman LLP
                                Attorneys for Defendant
       SPEEDWAY LLC i/s/h/a SPEEDWAY, LLC, HESS RETAIL STORES LLC, HESS
                 CORPORATION and SPEEDWAY GAS STATION,
                              100 Quentin Roosevelt Blvd.
                             Garden City, New York 11530
                                    (516) 357-3700
